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                                                                     United States Bankruptcy Court
                                                                         Southern District of Texas

                                                                            ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                March 20, 2023
                         FOR THE SOUTHERN DISTRICT OF TEXAS              Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

In re:                                        )   Chapter 11
                                              )
1200 Wego LLC,                                )   Case No. 23-90170 (DRJ)
                                              )
                             Debtor.          )
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In re:                                        )   Chapter 11
                                              )
1227 Veterans, LLC,                           )   Case No. 23-90173 (DRJ)
                                              )
                             Debtor.          )
                                              )
In re:                                        )   Chapter 11
                                              )
1308 Jefferson Davis LLC,                     )   Case No. 23-90183 (DRJ)
                                              )
                             Debtor.          )
                                              )
In re:                                        )   Chapter 11
                                              )
13289 Old Hammond Highway LLC,                )   Case No. 23-90244 (DRJ)
                                              )
                             Debtor.          )
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In re:                                        )   Chapter 11
                                              )
1600 Manhattan Blvd, LLC,                     )   Case No. 23-90186 (DRJ)
                                              )
                             Debtor.          )
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In re:                                        )   Chapter 11
                                              )
2601 Gen. Degaulle LLC,                       )   Case No. 23-90191 (DRJ)
                                              )
                             Debtor.          )
                                              )
In re:                                        )   Chapter 11
                                              )
2698 Barataria Blvd LLC,                      )   Case No. 23-90197 (DRJ)
                                              )
                             Debtor.          )
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 In re:                                        )   Chapter 11
                                               )
 2701 Canal Street LLC,                        )   Case No. 23-90199 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 2850 Belle Chasse Hgwy LLC,                   )   Case No. 23-90203 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 300 Lee Drive LLC,                            )   Case No. 23-90167 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 3049 Loyola Drive LLC,                        )   Case No. 23-90208 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 4115 Airline Hgwy., LLC,                      )   Case No. 23-90209 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 4408 S. I-10 Service Road LLC,                )   Case No. 23-90212 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 4520 Jefferson Highway LLC,                   )   Case No. 23-90215 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 4662 GDD LLC,                                 )   Case No. 23-90219 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 4915 Westbank Expwy LLC,                      )   Case No. 23-90222 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 4940 Groom Road, L.L.C.,                      )   Case No. 23-90226 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 5310 Flannery Road, LLC,                      )   Case No. 23-90232 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 798 Jean Lafitte, L.L.C.,                     )   Case No. 23-90169 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 8692 River Road, LLC,                         )   Case No. 23-90233 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 9410 Greenwell Springs, LLC,                  )   Case No. 23-90238 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 Alabama Terminal Property, LLC,               )   Case No. 23-90221 (DRJ)
                                               )
                              Debtor.          )
                                               )
 In re:                                        )   Chapter 11
                                               )
 Avondale Brothers No 128 LLC,                 )   Case No. 23-90247 (DRJ)
                                               )
                              Debtor.          )
                                               )
 In re:                                        )   Chapter 11
                                               )
 Avondale Investments, L.L.C.,                 )   Case No. 23-90251 (DRJ)
                                               )
                              Debtor.          )
                                               )
 In re:                                        )   Chapter 11
                                               )
 B&T Petroleum LLC,                            )   Case No. 23-90225 (DRJ)
                                               )
                              Debtor.          )
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 In re:                                        )   Chapter 11
                                               )
 Brothers Belle Chasse, L.L.C.,                )   Case No. 23-90257 (DRJ)
                                               )
                              Debtor.          )
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 In re:                                        )   Chapter 11
                                               )
 Brothers Carol Sue, LLC,                      )   Case No. 23-90262 (DRJ)
                                               )
                              Debtor.          )
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 In re:                                        )   Chapter 11
                                               )
 Brothers Expressway, Inc.,                    )   Case No. 23-90150 (DRJ)
                                               )
                              Debtor.          )
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 In re:                                        )   Chapter 11
                                               )
 Brothers I-10 Service Road, Inc.,             )   Case No. 23-90154 (DRJ)
                                               )
                               Debtor.         )
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 In re:                                        )   Chapter 11
                                               )
 Brothers Petroleum, L.L.C.,                   )   Case No. 23-90267 (DRJ)
                                               )
                               Debtor.         )
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 In re:                                        )   Chapter 11
                                               )
 Brothers Stonebridge, Inc.,                   )   Case No. 23-90158 (DRJ)
                                               )
                               Debtor.         )
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 In re:                                        )   Chapter 11
                                               )
 Brothers Terry Parkway, Inc.,                 )   Case No. 23-90159 (DRJ)
                                               )
                               Debtor.         )
                                               )
 In re:                                        )   Chapter 11
                                               )
 Consolidated HR Services LLC,                 )   Case No. 23-90228 (DRJ)
                                               )
                               Debtor.         )
                                               )
 In re:                                        )   Chapter 11
                                               )
 Crowder Brothers, LLC,                        )   Case No. 23-90280 (DRJ)
                                               )
                               Debtor.         )
                                               )
 In re:                                        )   Chapter 11
                                               )
 Exxon General Degaulle, LLC,                  )   Case No. 23-90282 (DRJ)
                                               )
                               Debtor.         )
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 In re:                                          )   Chapter 11
                                                 )
 Gause Operation, L.L.C.,                        )   Case No. 23-90284 (DRJ)
                                                 )
                             Debtor.             )
                                                 )
 In re:                                          )   Chapter 11
                                                 )
 Jamie Boulevard, LLC,                           )   Case No. 23-90286 (DRJ)
                                                 )
                             Debtor.             )
                                                 )
 In re:                                          )   Chapter 11
                                                 )
 Lapalco Brothers No. 125, LLC,                  )   Case No. 23-90274 (DRJ)
                                                 )
                             Debtor.             )
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 In re:                                          )   Chapter 11
                                                 )
 Madison Auto Truck Plaza and Lucky Dollar       )   Case No. 23-90218 (DRJ)
 Casino, LLC,                                    )
                                                 )
                             Debtor.             )
 In re:                                          )   Chapter 11
                                                 )
 MEX Fuels LLC,                                  )   Case No. 23-90234 (DRJ)
                                                 )
                             Debtor.             )
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 In re:                                          )   Chapter 11
                                                 )
 MEX Fuels NE LLC,                               )   Case No. 23-90235 (DRJ)
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                             Debtor.             )
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 In re:                                          )   Chapter 11
                                                 )
 MEX Fuels NE-IL LLC,                            )   Case No. 23-90237 (DRJ)
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                             Debtor.             )
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 In re:                                        )   Chapter 11
                                               )
 MEX Fuels NE-IN LLC,                          )   Case No. 23-90240 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX Fuels NE-KY LLC,                          )   Case No. 23-90242 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX Fuels NE-NJ LLC,                          )   Case No. 23-90245 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX Fuels NE-NY LLC,                          )   Case No. 23-90248 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX Fuels NE-OH LLC,                          )   Case No. 23-90249 (DRJ)
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                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX Fuels NW LLC,                             )   Case No. 23-90250 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX Fuels NW-IA LLC,                          )   Case No. 23-90254 (DRJ)
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                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX Fuels NW-MO LLC,                          )   Case No. 23-90256 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX Fuels SE LLC,                             )   Case No. 23-90258 (DRJ)
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                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX Fuels SE-GA LLC,                          )   Case No. 23-90265 (DRJ)
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                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX Fuels SE-MS LLC,                          )   Case No. 23-90269 (DRJ)
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                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX Fuels SE-TN LLC,                          )   Case No. 23-90276 (DRJ)
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                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX Fuels SW LLC,                             )   Case No. 23-90283 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX Fuels SW-LA LLC,                          )   Case No. 23-90288 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX Fuels SW-OK LLC,                          )   Case No. 23-90289 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX North Alabama, LLC,                       )   Case No. 23-90214 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX RE Holdings LLC,                          )   Case No. 23-90165 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX RE-NE LLC,                                )   Case No. 23-90174 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX RE-NE-IN LLC,                             )   Case No. 23-90187 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX RE-NE-NJ LLC,                             )   Case No. 23-90188 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX RE-NE-NY LLC,                             )   Case No. 23-90189 (DRJ)
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                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX RE-NE-NY-LI LLC,                          )   Case No. 23-90196 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX RE-NE-OH LLC,                             )   Case No. 23-90201 (DRJ)
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                             Debtor.           )
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 In re:                                        )   Chapter 11
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 MEX RE-NE-PA LLC,                             )   Case No. 23-90205 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
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 MEX RE-NW LLC,                                )   Case No. 23-90213 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX RE-NW-IA LLC,                             )   Case No. 23-90217 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX RE-NW-KS LLC,                             )   Case No. 23-90223 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX RE-NW-MN LLC,                             )   Case No. 23-90230 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX RE-NW-MO LLC,                             )   Case No. 23-90236 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX RE-NW-ND LLC,                             )   Case No. 23-90241 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX RE-NW-WI LLC,                             )   Case No. 2390253 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
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 MEX RE-SE LLC,                                )   Case No. 23-90259 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
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 MEX RE-SE-AL LLC,                             )   Case No. 23-90260 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX RE-SE-FL LLC,                             )   Case No. 23-90261 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX RE-SE-GA LLC,                             )   Case No. 23-90263 (DRJ)
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                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX RE-SE-MS LLC,                             )   Case No. 23-90268 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX RE-SE-NC LLC,                             )   Case No. 23-90271 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
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 MEX RE-SE-SC LLC,                             )   Case No. 23-90272 (DRJ)
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                             Debtor.           )
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 In re:                                        )   Chapter 11
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 MEX RE-SE-TN LLC,                             )   Case No. 23-90273 (DRJ)
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                             Debtor.           )
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 In re:                                        )   Chapter 11
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 MEX RE-SW LLC,                                )   Case No. 23-90275 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX RE-SW-AR LLC,                             )   Case No. 23-90277 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 MEX RE-SW-LA LLC,                             )   Case No. 23-90278 (DRJ)
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                             Debtor.           )
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 In re:                                         )   Chapter 11
                                                )
 MEX RE-SW-OK LLC,                              )   Case No. 23-90279 (DRJ)
                                                )
                             Debtor.            )
                                                )
 In re:                                         )   Chapter 11
                                                )
 MEX RE-SW-TX LLC,                              )   Case No. 23-90281 (DRJ)
                                                )
                             Debtor.            )
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 In re:                                         )   Chapter 11
                                                )
 Mississippi MEX Company, LLC,                  )   Case No. 23-90211 (DRJ)
                                                )
                             Debtor.            )
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 In re:                                         )   Chapter 11
                                                )
 Mountain Express Baking and Coffee Co.,        )   Case No. 23-90285 (DRJ)
                                                )
                             Debtor.            )
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 In re:                                         )   Chapter 11
                                                )
 Mountain Express Ethanol Company,              )   Case No. 23-90207 (DRJ)
                                                )
                             Debtor.            )
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 In re:                                         )   Chapter 11
                                                )
 Mountain Express Oil Company,                  )   Case No. 23-90147 (DRJ)
                                                )
                             Debtor.            )
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 In re:                                         )   Chapter 11
                                                )
 Mountain Express Oil Company Southeast, LLC,   )   Case No. 23-90210 (DRJ)
                                                )
                             Debtor.            )
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 In re:                                        )   Chapter 11
                                               )
 Newton Brothers, Inc.,                        )   Case No. 23-90164 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 South Claiborne Operation LLC,                )   Case No. 23-90287 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 Spartan Tank Management LLC,                  )   Case No. 23-90204 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 Star Mountain Express, LLC,                   )   Case No. 23-90146 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 Texas MEX Limited Company, LLC,               )   Case No. 23-90145 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 Webster P II L.L.C.,                          )   Case No. 23-90172 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WebsterP L.L.C.,                              )   Case No. 23-90168 (DRJ)
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                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 West Hill Ranch Group LLC,                    )   Case No. 2390176 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 WHRG Retail Ops LLC,                          )   Case No. 23-90148 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRG TC LLC,                                  )   Case No. 23-90180 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
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 WHRG TC-NE LLC,                               )   Case No. 23-90184 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRG TC-NE-PA LLC,                            )   Case No. 23-90190 (DRJ)
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                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRG TC-NW LLC,                               )   Case No. 23-90193 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRG TC-NW-IA LLC,                            )   Case No. 23-90195 (DRJ)
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                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRG TC-NW-KS LLC,                            )   Case No. 23-90149 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRG TC-NW-MO LLC,                            )   Case No. 23-90153 (DRJ)
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                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRG TC-NW-ND LLC,                            )   Case No. 23-90156 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRG TC-NW-WY LLC,                            )   Case No. 23-90160 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRG TC-SE LLC,                               )   Case No. 23-90162 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRG TC-SE-AL LLC,                            )   Case No. 23-90171 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRG TC-SE-SC LLC,                            )   Case No. 23-90179 (DRJ)
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                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRG TC-SW LLC,                               )   Case No. 23-90155 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRG TC-SW-AR LLC,                            )   Case No. 23-90181 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRG TC-SW-LA LLC,                            )   Case No. 23-90182 (DRJ)
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                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRG-LA, LLC,                                 )   Case No. 23-90161 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRG-LA2, LLC,                                )   Case No. 23-90200 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRGOPS NE LLC,                               )   Case No. 23-90185 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRGOPS NE-NY LLC,                            )   Case No. 23-90192 (DRJ)
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                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRGOPS NE-NY-LI LLC,                         )   Case No. 23-90194 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRGOPS NE-PA LLC,                            )   Case No. 23-90198 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRGOPS NW LLC,                               )   Case No. 23-90202 (DRJ)
                                               )
                             Debtor.           )
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 In re:                                        )   Chapter 11
                                               )
 WHRGOPS NW-IA LLC,                            )   Case No. 23-90206 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 WHRGOPS NW-IA-WIA LLC,                        )   Case No. 23-90216 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 WHRGOPS NW-KS LLC,                            )   Case No. 23-90220 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 WHRGOPS NW-MI LLC,                            )   Case No. 23-90224 (DRJ)
                                               )
                             Debtor.           )
                                               )




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 In re:                                        )   Chapter 11
                                               )
 WHRGOPS NW-MO LLC,                            )   Case No. 23-90227 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 WHRGOPS NW-MO-NMO LLC,                        )   Case No. 23-90229 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 WHRGOPS NW-WI LLC,                            )   Case No. 23-90231 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 WHRGOPS NW-WI-NWI LLC,                        )   Case No. 23-90239 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 WHRGOPS SE LLC,                               )   Case No. 23-90243 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 WHRGOPS SE-AL-NORTH LLC,                      )   Case No. 23-90246 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 WHRGOPS SE-MS LLC,                            )   Case No. 23-90252 (DRJ)
                                               )
                             Debtor.           )
                                               )




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 In re:                                        )   Chapter 11
                                               )
 WHRGOPS SE-MS-JACKSON LLC,                    )   Case No. 23-90255 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 WHRGOPS SE-SC LLC,                            )   Case No. 23-90264 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 WHRGOPS SE-TN LLC,                            )   Case No. 23-90266 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 WHRGOPS SE-TN-WTN LLC,                        )   Case No. 23-90270 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 WHRGOPS SW LLC,                               )   Case No. 23-90151 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 WHRGOPS SW-AR LLC,                            )   Case No. 23-90152 (DRJ)
                                               )
                             Debtor.           )
                                               )
 In re:                                        )   Chapter 11
                                               )
 WHRGOPS SW-AR-NWAR LLC,                       )   Case No. 23-90157 (DRJ)
                                               )
                             Debtor.           )
                                               )




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    In re:                                                          )    Chapter 11
                                                                    )
    WHRGOPS SW-OK LLC,                                              )    Case No. 23-90163 (DRJ)
                                                                    )
                                      Debtor.                       )
                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    WHRGOPS SW-OK-OKC LLC,                                          )    Case No. 23-90166 (DRJ)
                                                                    )
                                      Debtor.                       )
                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    WHRGOPS SW-TX LLC,                                              )    Case No. 23-90175 (DRJ)
                                                                    )
                                      Debtor.                       )
                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    WHRGOPS SW-TX-DALLAS LLC,                                       )    Case No. 23-90177 (DRJ)
                                                                    )
                                      Debtor.                       )
                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    WHRGOPS SW-TX-STX LLC,                                          )    Case No. 23-90178 (DRJ)
                                                                    )
                                      Debtor.                       )
                                                                    )         (Docket No. 4)


                  ORDER (I) DIRECTING JOINT ADMINISTRATION OF THE
             DEBTORS’ CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”) (a) directing the joint

administration of the Debtors’ Chapter 11 Cases for procedural purposes only and (b) granting

related relief, all as more fully set forth in the Motion; and upon the First Day Declaration; and

this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this Court having


1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found

that it may enter a final order consistent with Article III of the United States Constitution; and this

Court having found that ex parte relief is appropriate, it is HEREBY ORDERED THAT:

             1.     The Motion is hereby GRANTED, to the extent set forth herein.

             2.     The above-captioned Chapter 11 Cases are consolidated for procedural purposes

only and shall be jointly administered under case number Case No. 23-90147 (DRJ).

             3.     Additionally, the following checked items are ordered:

                    a.              One disclosure statement and plan of reorganization may be filed
                          for all cases by any plan proponent.

                    b.             Any of the above-captioned cases not previously assigned to Judge
                          Jones is transferred to Judge Jones

                    c.             Parties may request joint hearings on matters pending in any of the
                          jointly administered cases.

                    d.              Other: See below.


             4.     The caption of the jointly administered cases should read as follows:

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    In re:                                                         ) Chapter 11
                                                                   )
    MOUNTAIN EXPRESS OIL COMPANY, et al.,                          ) Case No. 23-90147 (DRJ)
                                                                   )
                                              Debtors.1            ) (Jointly Administered)
                                                                   )
1
     A complete list of each of the Debtors in these Chapter 11 cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain
     Express Oil Company’s principal place of business and the Debtors’ service address in these Chapter 11 cases is
     3650 Mansell Road, Suite 250, Alpharetta, GA 30022.


             5.     The foregoing caption satisfies the requirements set forth in section 342(c)(1) of

the Bankruptcy Code in every respect.

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        6.       A docket entry, substantially similar to the following, shall be entered on the docket

of each of the Debtors other than Mountain Express Oil Company to reflect the joint administration

of these Chapter 11 Cases:

        An order (the “Joint Administration Order”) has been entered in this case directing
        the joint administration of the chapter 11 cases listed below for procedural purposes
        only. The docket in Case No. 23-90147 should be consulted for all matters
        affecting these cases, and all further pleadings and other papers shall be filed
        in and all further docket entries shall be made in such case. The following
        chapter 11 cases are jointly administered pursuant to the Joint Administration
        Order: Mountain Express Oil Company [Case No. 23-90147]; 1200 Wego LLC
        [Case No. 23-90170]; 1227 Veterans, LLC [Case No. 23-90173]; 1308 Jefferson
        Davis LLC [Case No. 23-90183]; 13289 Old Hammond Highway LLC [Case No.
        23-90244]; 1600 Manhattan Blvd, LLC [Case No. 23-90186]; 2601 Gen. Degaulle
        LLC [Case No. 23-90191]; 2698 Barataria Blvd LLC [Case No. 23-90197]; 2701
        Canal Street LLC [Case No. 23-90199]; 2850 Belle Chasse Hgwy LLC [Case No.
        23-90203]; 300 Lee Drive LLC [Case No. 23-90167]; 3049 Loyola Drive LLC
        [Case No. 23-90208]; 4115 Airline Hgwy., LLC [Case No. 23-90209]; 4408 S. I-
        10 Service Road LLC [Case No. 23-90212]; 4520 Jefferson Highway LLC [Case
        No. 23-90215]; 4662 GDD LLC [Case No. 23-90219]; 4915 Westbank Expwy LLC
        [Case No. 23-90222]; 4940 Groom Road, L.L.C. [Case No. 23-90226]; 5310
        Flannery Road, LLC [Case No. 23-90232]; 798 Jean Lafitte, L.L.C. [Case No. 23-
        90169]; 8692 River Road, LLC [Case No. 23-90233]; 9410 Greenwell Springs,
        LLC [Case No. 23-90238]; Alabama Terminal Property, LLC [Case No. 23-
        90221]; Avondale Brothers No 128 LLC [Case No. 23-90247]; Avondale
        Investments, L.L.C. [Case No. 23-90251]; B&T Petroleum LLC [Case No. 23-
        90225]; Brothers Belle Chasse, L.L.C. [Case No. 23-90257]; Brothers Carol Sue,
        LLC [Case No. 23-90262]; Brothers Expressway, Inc. [Case No. 23-90150];
        Brothers I-10 Service Road, Inc. [Case No. 23-90154]; Brothers Petroleum, L.L.C.
        [Case No. 23-90267]; Brothers Stonebridge, Inc. [Case No. 23-90158]; Brothers
        Terry Parkway, Inc. [Case No. 23-90159]; Consolidated HR Services LLC [Case
        No. 23-90228]; Crowder Brothers, LLC [Case No. 23-90280]; Exxon General
        Degaulle, LLC [Case No. 23-90282]; Gause Operation, L.L.C. [Case No. 23-
        90284]; Jamie Boulevard, LLC [Case No. 23-90286]; Lapalco Brothers No. 125,
        LLC [Case No. 23-90274]; Madison Auto Truck Plaza and Lucky Dollar Casino,
        LLC [Case No. 23-90218]; MEX Fuels LLC [Case No. 23-90234]; MEX Fuels NE
        LLC [Case No. 23-90235]; MEX Fuels NE-IL LLC [Case No. 23-90237]; MEX
        Fuels NE-IN LLC [Case No. 23-90240]; MEX Fuels NE-KY LLC [Case No. 23-
        90242]; MEX Fuels NE-NJ LLC [Case No. 23-90245]; MEX Fuels NE-NY LLC
        [Case No. 23-90248]; MEX Fuels NE-OH LLC [Case No. 23-90249]; MEX Fuels
        NW LLC [Case No. 23-90250]; MEX Fuels NW-IA LLC [Case No. 23-90254];
        MEX Fuels NW-MO LLC [Case No. 23-90256]; MEX Fuels SE LLC [Case No.
        23-90258]; MEX Fuels SE-GA LLC [Case No. 23-90265]; MEX Fuels SE-MS
        LLC [Case No. 23-90269]; MEX Fuels SE-TN LLC [Case No. 23-90276]; MEX


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        Fuels SW LLC [Case No. 23-90283]; MEX Fuels SW-LA LLC [Case No. 23-
        90288]; MEX Fuels SW-OK LLC [Case No. 23-90289]; MEX North Alabama,
        LLC [Case No. 23-90214]; MEX RE Holdings LLC [Case No. 23-90165]; MEX
        RE-NE LLC [Case No. 23-90174]; MEX RE-NE-IN LLC [Case No. 23-90187];
        MEX RE-NE-NJ LLC [Case No. 23-90188]; MEX RE-NE-NY LLC [Case No. 23-
        90189]; MEX RE-NE-NY-LI LLC [Case No. 23-90196]; MEX RE-NE-OH LLC
        [Case No. 23-90201]; MEX RE-NE-PA LLC [Case No. 23-90205]; MEX RE-NW
        LLC [Case No. 23-90213]; MEX RE-NW-IA LLC [Case No. 23-90217]; MEX RE-
        NW-KS LLC [Case No. 23-90223]; MEX RE-NW-MN LLC [Case No. 23-90230];
        MEX RE-NW-MO LLC [Case No. 23-90236]; MEX RE-NW-ND LLC [Case No.
        23-90241]; MEX RE-NW-WI LLC [Case No. 23-90253]; MEX RE-SE LLC [Case
        No. 23-90259]; MEX RE-SE-AL LLC [Case No. 23-90260]; MEX RE-SE-FL LLC
        [Case No. 23-90261]; MEX RE-SE-GA LLC [Case No. 23-90263]; MEX RE-SE-
        MS LLC [Case No. 23-90268]; MEX RE-SE-NC LLC [Case No. 23-90271]; MEX
        RE-SE-SC LLC [Case No. 23-90272]; MEX RE-SE-TN LLC [Case No. 23-
        90273]; MEX RE-SW LLC [Case No. 23-90275]; MEX RE-SW-AR LLC [Case
        No. 23-90277]; MEX RE-SW-LA LLC [Case No. 23-90278]; MEX RE-SW-OK
        LLC [Case No. 23-90279]; MEX RE-SW-TX LLC [Case No. 23-90281];
        Mississippi MEX Company, LLC [Case No. 23-90211]; Mountain Express Baking
        and Coffee Co. [Case No. 23-90285]; Mountain Express Ethanol Company [Case
        No. 23-90207]; Mountain Express Oil Company Southeast, LLC [Case No. 23-
        90210]; Newton Brothers, Inc. [Case No. 23-90164]; South Claiborne Operation
        LLC [Case No. 23-90287]; Spartan Tank Management LLC [Case No. 23-90204];
        Star Mountain Express, LLC [Case No. 23-90146]; Texas MEX Limited Company,
        LLC [Case No. 23-90145]; Webster P II L.L.C. [Case No. 23-90172]; WebsterP
        L.L.C. [Case No. 23-90168]; West Hill Ranch Group LLC [Case No. 23-90176];
        WHRG Retail Ops LLC [Case No. 23-90148]; WHRG TC LLC [Case No. 23-
        90180]; WHRG TC-NE LLC [Case No. 23-90184]; WHRG TC-NE-PA LLC [Case
        No. 23-90190]; WHRG TC-NW LLC [Case No. 23-90193]; WHRG TC-NW-IA
        LLC [Case No. 23-90195]; WHRG TC-NW-KS LLC [Case No. 23-90149];
        WHRG TC-NW-MO LLC [Case No. 23-90153]; WHRG TC-NW-ND LLC [Case
        No. 23-90156]; WHRG TC-NW-WY LLC [Case No. 23-90160]; WHRG TC-SE
        LLC [Case No. 23-90162]; WHRG TC-SE-AL LLC [Case No. 23-90171]; WHRG
        TC-SE-SC LLC [Case No. 23-90179]; WHRG TC-SW LLC [Case No. 23-90155];
        WHRG TC-SW-AR LLC [Case No. 23-90181]; WHRG TC-SW-LA LLC [Case
        No. 23-90182]; WHRG-LA, LLC [Case No. 23-90161]; WHRG-LA2, LLC [Case
        No. 23-90200]; WHRGOPS NE LLC [Case No. 23-90185]; WHRGOPS NE-NY
        LLC [Case No. 23-90192]; WHRGOPS NE-NY-LI LLC [Case No. 23-90194];
        WHRGOPS NE-PA LLC [Case No. 23-90198]; WHRGOPS NW LLC [Case No.
        23-90202]; WHRGOPS NW-IA LLC [Case No. 23-90206]; WHRGOPS NW-IA-
        WIA LLC [Case No. 23-90216]; WHRGOPS NW-KS LLC [Case No. 23-90220];
        WHRGOPS NW-MI LLC [Case No. 23-90224]; WHRGOPS NW-MO LLC [Case
        No. 23-90227]; WHRGOPS NW-MO-NMO LLC [Case No. 23-90229];
        WHRGOPS NW-WI LLC [Case No. 23-90231]; WHRGOPS NW-WI-NWI LLC
        [Case No. 23-90239]; WHRGOPS SE LLC [Case No. 23-90243]; WHRGOPS SE-
        AL-NORTH LLC [Case No. 23-90246]; WHRGOPS SE-MS LLC [Case No. 23-


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        90252]; WHRGOPS SE-MS-JACKSON LLC [Case No. 23-90255]; WHRGOPS
        SE-SC LLC [Case No. 23-90264]; WHRGOPS SE-TN LLC [Case No. 23-90266];
        WHRGOPS SE-TN-WTN LLC [Case No. 23-90270]; WHRGOPS SW LLC [Case
        No. 23-90151]; WHRGOPS SW-AR LLC [Case No. 23-90152]; WHRGOPS SW-
        AR-NWAR LLC [Case No. 23-90157]; WHRGOPS SW-OK LLC [Case No. 23-
        90163]; WHRGOPS SW-OK-OKC LLC [Case No. 23-90166]; WHRGOPS SW-
        TX LLC [Case No. 23-90175]; WHRGOPS SW-TX-DALLAS LLC [Case No. 23-
        90177]; WHRGOPS SW-TX-STX LLC [Case No. 23-90178]..

        7.       The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the Southern District of Texas shall keep, one consolidated docket, one file, and one

consolidated service list for these Chapter 11 Cases. A separate claims registry shall be maintained

for each Debtor.

        8.       Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these Chapter 11 Cases, and this

Order shall be without prejudice to the rights of the Debtors to seek entry of an Order substantively

consolidating their respective cases.

        9.       The Debtors are authorized, but not directed, to take all actions necessary to

effectuate the relief granted in this Order in accordance with the Motion.

        10.      The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

        11.      Notice of the Motion as provided therein shall be deemed good and sufficient and

satisfies the requirements of the Bankruptcy Rules and the Local Rules.

        12.      The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

        13.      This Court retains exclusive jurisdiction and power with respect to all matters

arising from or related to the implementation, interpretation, and enforcement of this Order.


Dated: Signed: March
       ________, 2023 20, 2023.                      ____________________________________
                                                     UNITED STATES BANKRUPTCY JUDGE
                                                    ____________________________________
                                                    DAVID R. JONES
                                                 25 UNITED STATES BANKRUPTCY JUDGE
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